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 8 Attorneys for Plaintiffs

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10                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN JOSE DIVISION
12

13 IN RE PAYPAL HONEY BROWSER EXTENSION                 Case No.: 5:24-cv-9470-BLF
   LITIGATION
14                                                      DECLARATION OF ADAM E. POLK IN
15                                                      SUPPORT OF UNOPPOSED
                                                        ADMINISTRATIVE MOTION TO
16                                                      CONSIDER WHETHER CASES SHOULD
                                                        BE RELATED
17

18 EDDIE BLOTNICKI, MIESHA DOBBS,                Case No.: 5:25-cv-01386-NC
19 COURTNEY       DORAN,     JULES FLETCHER,
   CAROLYN JOHNSTON, ANGELA KACHONIK,
20 LAUREN LEATHERMAN, AMY MALCOLM,
   TATIANA MARQUEZ, KARA MILLER, AND
21 LEILANI SHIMODA, on behalf of herself and all
   others similarly situated,
22

23                        Plaintiffs,

24         v.

25 PAYPAL HOLDINGS, INC. and PAYPAL, INC.,

26
                          Defendants.
27

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      DECLARATION OF ADAM E. POLK IN SUPPORT OF UNOPPOSED ADMINISTRATIVE
            MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
       Case 5:24-cv-09470-BLF           Document 66-1        Filed 02/11/25      Page 2 of 2




 1          I, Adam E. Polk, declare as follows:

 2          1.     I am a partner of Girard Sharp LLP and counsel for Plaintiffs Eli Silva and Ashley

 3 Gardiner. I submit this declaration in support of the accompanying Unopposed Administrative

 4 Motion to Consider whether cases should be related. I have personal knowledge of the facts stated

 5 herein and, if called upon to do so, could and would testify competently thereto.

 6          2.     A stipulation pursuant to Local Rule 7-11 for Plaintiffs’ Administrative Motion to

 7 Relate could not be obtained because Defendants do not join in the motion.

 8          3.     I have conferred with all parties to this litigation in connection with this

 9 administrative motion to relate, including Defendants. Counsel for Plaintiffs agree that the above-

10 captioned cases are related under Civil Local Rule 3-12. Counsel for Defendants agree not to

11 oppose this administrative motion.

12          I declare under penalty of perjury under the laws of the United States that the foregoing is true

13 and correct. Executed February 11, 2025 in San Francisco, California.

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15                                                 /s/ Adam E. Polk
                                                   Adam E. Polk
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      DECLARATION OF ADAM E. POLK IN SUPPORT OF UNOPPOSED ADMINISTRATIVE
            MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
